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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT

LINDA LUXENBERG and                                    )
KELCEY LUXENBERG, as                                   )
Guardians and next best friends of                     )
JOHN DOE; and                                          )
LINDA LUXENBERG, for herself,                          )
       Plaintiffs,                                     )
                                                       )
              v.                                       )
                                                       )
VERMONT DEPARTMENT OF                                  )    Case No.: 2:22-cv-00188-cr
DISABILITIES, AGING AND                                )
INDEPENDENT LIVING;                                    )
MONICA WHITE in her official and                       )
individual capacities; JENNIFER                        )
GARABEDIAN, in her official and                        )
individual capacities; WASHINGTON                      )
COUNTY MENTAL HEALTH                                   )
SERVICES, INC., and MARY                               )
MOULTON, in her official and                           )
individual capacities;                                 )
          Defendants.

    ANSWER of THE VERMONT DEPARTMENT OF DISABILITIES, AGING AND
    INDEPENDENT LIVING, MONICA WHITE and JENNIFER GARABEDIAN to
     PLAINTIFFS’ AMENDED COMPLAINT filed FEBRUARY 6, 20231 and JURY
                             DEMAND


        Now come defendants, the Vermont Department of Disabilities, Aging and

Independent Living (“DAIL”), DAIL Commissioner Monica White and Jennifer

Garabedian, Director of DAIL’S Developmental Disabilities Services Division,

through counsel, and hereby ANSWER the Plaintiffs’ October 18, 2022 Verified

Complaint.


1
 The undersigned believes that the Court orally granted Plaintiff’s February 6, 2023 Motion to Amend Complaint
at the Status Conference held on March 24, 2023 relative to the state defendants.

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1.   ADMITTED.

2.   ADMITTED, although there is a pending (but inactive) motion in the

     Washington Probate Division of the Vermont Superior Court seeking to

     remove the co-guardians.

3.   DENIED.

4.   ADMITTED.

5.   ADMITTED.

6.   ADMITTED.

7.   ADMITTED that Washington County Mental Health Services (“WCMHS”)

     is a non-profit organization in Vermont and is a Designated Agency that is

     part of Vermont’s system of providing services to people with disabilities.

     Defendants lack knowledge or information sufficient to form a belief about

     the truth of the averment that WCMHS independently receives federal

     funding and thus DENY said averment.

8.   ADMITTED.

9.   ADMITTED that Lamoille County Mental Health Services (“LCMHS”) is a

     non-profit organization in Vermont and is a Designated Agency that is

     part of Vermont’s system of providing services to people with disabilities.

     Defendants lack knowledge or information sufficient to form a belief about

     the truth of the averment that LCMHS independently receives federal

     funding and thus DENY said averment.




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                         JURISDICTION AND VENUE

10.   This paragraph contains only citations to the law and requires no

      response. To the extent a response if required, defendants DENY this

      averment.

11.   This paragraph contains only citations to the law and requires no

      response. To the extent a response if required, defendants DENY this

      averment.

12.   ADMITTED that all defendants either reside in Vermont or are Vermont

      state governmental entities or Vermont nonprofit organizations.

      Defendants lack knowledge or information sufficient to form a belief

      about whether all plaintiffs are residents of Vermont or if all acts or

      omissions occurred within Vermont and thus DENY said averment.

13.   This paragraph contains only citations to the law and requires no

      response. To the extent a response if required, defendants DENY this

      averment.

14.   This paragraph contains only citations to the law and requires no

      response. To the extent a response if required, defendants DENY this

      averment.

15.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.




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16.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.

17.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.

18.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.

19.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.

20.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.

21.    This paragraph contains only citations to the law and requires no

       response. To the extent a response if required, defendants DENY this

       averment.

22.     ADMITTED.

23.     ADMITTED.

24.     ADMITTED that Designated Agencies are obligated by DAIL to provide

        services to eligible individuals in each of Vermont's 14 counties (each



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        referred to as a "catchment area"). Admitted that Designated Agencies

        must provide services directly or contract with other providers or

        individuals to deliver support and services consistent with available

        funding, state and local System of Care Plans and state and federal

        guidelines.

25.     This paragraph contains only citations to the law and requires no

        response. To the extent a response if required, defendants DENY this

        averment.

26.     ADMITTED that WCMHS is the Designated Agency for Washington

        County, where John Doe resides. Whether a Designated Agency “is

        obligated” to provide John Doe services that comport to plaintiffs’

        description (“obligated to provide adequate services to him and his

        family which comport with the above-described legal framework”) is a

        legal conclusion to which no response is required. To the extent a

        response if required, defendants DENY this averment.



                          FACTUAL ALLEGATIONS



27.     ADMITTED.

28.     ADMITTED.

29.     ADMITTED that Doe lived in a house in Waitsfield, Vermont, and was

        assisted by Upper Valley Services. DENIED that Upper Valley



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        Services is a Specialized Services Agency. ADMITTED that Upper

        Valley Services receives funding from DAIL.

30.     ADMITTED that Doe experienced a crisis and was transported to

        Dartmouth-Hitchcock Medical Center ("DHMC"). The averment that he

        was unable thereafter to return to Waitsfield and was thus forced stay

        in the ED until a residential placement was arranged is DENIED.

31.     DENIED that “Plaintiff Doe was stuck at DHMC;” ADMITTED that, at

        that time, a team that included DAIL was formed to work towards

        developing a residential placement for Plaintiff. ADMITTED that the

        planning team has continued to meet, and that the members and

        frequency of meetings have changed. DENIED that DAIL's engagement

        with this team has not been consistent; ADMITTED that defendant

        Jennifer Garabedian has been the member representing DAIL at the

        regular meetings starting in March 2022.

32.     ADMITTED that Commissioner White “attended meetings” and “has

        been briefed about ongoing issues related to the care and services for

        plaintiff Doe.” To the extent that this paragraph intends to allege that

        Commissioner White attended all meetings or was or is aware of all

        ongoing issues, this averment is DENIED.

33.    ADMITTED that one option the team identified for Doe was a short-

       term crisis bed owned and operated by the Vermont Crisis Intervention

       Network ("VCIN"). ADMITTED that Linda Luxenberg was Doe's sole



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       guardian and that she expressed concerns that the VCIN crisis bed may

       not be a safe placement for Doe and could be detrimental to him.

34.    DENIED that Linda Luxenberg’s guardianship was terminated “as a

       result” of her expression of concerns. ADMITTED that the Office of

       Public Guardian, a division of DAIL, was appointed. Linda Luxenberg

       was removed from the guardianship pursuant to a petition filed by

       Dartmouth Hitchcock Medical Center, after an evidentiary hearing, by a

       judge of the Vermont Superior Court, Washington Probate Division.

35.    ADMITTED that Doe was thereafter moved to the VCIN crisis bed with

       his new guardian's approval on or around August 13, 2020 and that Doe

       was re-hospitalized shortly thereafter. DENIED that “Linda’s concerns

       proved correct.”

36.    ADMITTED as to Mike Chapman offering suggestions. To the extent

       this paragraph intends to allege that Mr. Chapman’s suggestions should

       have been dispositive they are DENIED.

37.    ADMITTED that no Functional Behavioral Analysis was conducted; the

       term “balance” in the context of this paragraph is amorphous and thus

       the remainder of this averment is DENIED.

38.    ADMITTED.

39.    ADMITTED that Doe's home is in a remote area of Marshfield.

       Defendants lack knowledge or information sufficient to form a belief

       about the truth of the averment regarding the population of the town of



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       Marshfield and thus DENY this averment. ADMITTED that cameras

       have been installed in the house (except bedroom and bathroom) and

       that WCMHS staff can monitor Doe from an attached room that is

       inaccessible to him.

40.    ADMITTED that Doe has needed "two to one" staffing at all times at the

       Marshfield residence (meaning there are always two staff members

       available to assist him). Defendants DENY the characterization that

       WCMHS has failed to appropriately staff the program; ADMITTED that

       WCMHS has relied upon VCIN to provide short-term, rotating staff.

41.    ADMITTED, although DAIL does not allocate more than one year’s

       funding at a time.

42.    ADMITTED.

43.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of these averments and thus DENY said averment.

44.    ADMITTED that WCMHS consulted with third parties. ADMITTED

       that the DAIL Commissioner Monica White terminated at least one such

       consultation contract; DENIED that said consultant made expert

       recommendations.

45.    ADMITTED as to the chronology of the events; defendants are without

       knowledge as to whether Kate Panaccione “observed” Doe and therefore

       DENY this averment; any implication that Kate Panaccione’s contract

       was terminated because she “objected” to Doe’s care is DENIED.



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46.    ADMITTED that Doe responds well when he has a calendar to which to

       refer. The remainder of these allegations are imprecise; Defendants

       therefore lack knowledge or information sufficient to form a belief about

       their truth thus DENY said averment.

47.    DENIED.

48.    ADMITTED that Doe’s initial behavior support plan (from August of

       2020), current support plan, and communication plan all include

       recommendations for written or visual communications. DENIED that

       “… staff at WCMHS and VCIN often attempt to communicate with Doe

       verbally, which impedes his ability to communicate and often frustrates

       him.”

49.    ADMITTED that Melmark conducted another evaluation of Doe in

       August and September, 2021. ADMITTED that the evaluation states

       the remainder of the averments in this paragraph.

50.    ADMITTED as to the state officials; defendants are without sufficient

       information regarding the remainder of the allegations in this

       paragraph and therefore DENY said allegations.

51.    ADMITTED.

52.    DENIED.

53.    DENIED.

54.    ADMITTED.

55.    ADMITTED.



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56.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of these averments and thus DENY said averment.

57.    DENIED.

58.    ADMITTED that the issues of consulting with an autism specialist,

       engaging a speech-language pathologist, and/or conducting sensory

       evaluations were discussed at team meetings at which DAIL

       representatives were present. DENIED that there were “failures.”

59.    DENIED.

60.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of these averments and thus DENY said averment.

61.    ADMITTED.

62.    DENIED.

63.    DENIED.

64.    DENIED.

65.    DENIED.

66.    DENIED.

67.    ADMITTED.

68.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of this averment and thus DENY said averment.

69.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of this averment and thus DENY said averment.




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70.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of this averment and thus DENY said averment.

71.    Admitted.

72.    Admitted that the co-guardians have communicated with individuals at

       DAIL and possibly emailed DAIL’s General Counsel; the

       characterization that these communications were to procure “necessary

       services,” etc., is DENIED.

73.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of this averment and thus DENY said averment.

74.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of this averment and thus DENY said averment.

75.    Defendants do not understand what is meant by “did nothing” and “no

       progress” and thus DENY said averment.

76.    DENIED.

77.    Defendants lack knowledge or information sufficient to form a belief

       about the truth of this averment therefore DENY said averment.

78.    ADMITTED that that the guardians identified potential individuals who

       might work with Doe; Defendants lack knowledge or information

       sufficient to form a belief about the truth of the averment that these

       individuals were available and qualified to work with Doe. DENIED that

       these suggestions were “ignored.”




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79.    ADMITTED, although there are other communications that would

       provide proper context.

80.    ADMITTED with clarifications: DAIL and the Vermont Developmental

       Disabilities Services Division’s role is/are to administer and oversee the

       System of Care for Vermonters with intellectual and developmental

       disabilities, not to manage day-to-day supports, including work related

       to the development of transitional planning. As laid out in the Vermont

       State System of Care Plan for Developmental Disabilities, the Division

       has a role in approving transition plans and addressing conflicts, as

       necessary.

81.    DENIED that WCMHS decided to withdraw services because Doe’s

       guardians had complained about WCMHS. The remainder of the facts

       contained in this paragraph, while misleadingly incomplete, are

       admitted.

82.    ADMITTED; plaintiffs nonetheless exercised their right to appeal

       without incident or delay.

83.    DENIED.

84.    DENIED.

85.    DENIED; although Defendants knew that WCMHS intended to

       withdraw as service provider at some point.

86.    DENIED.




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87.    DENIED that defendants are “terminating services;” Defendants lack

       knowledge or information sufficient to form a belief about the truth of

       the remaining averments and therefore DENY said averments.

88.    ADMITTED.

89.    ADMITTED as to the October 5, 2022 meeting. It was agreed that Doe

       should not be without a place to live; DAIL/DDSD offered a potential

       transition option utilizing the Intensive Transition Supports location in

       Lamoille County (supported through LCMHS). Doe’s guardian was not

       in support and indicated that they would not support continued

       exploration. The teams agreed that more work was needed to develop a

       transition plan. Doe’s guardians indicated that they wanted to focus

       efforts on transition planning between agencies and not a short-term

       option.

90.    ADMITTED that an October 5, 2022 email was sent. The document

       transmitted was not a “draft transition proposal;” it lacked sufficient

       information and elements of a transition plan. DAIL responded to Doe’s

       guardian (through her attorney) around the need for more information.

91.    ADMITTED.

92.    ADMITTED as to the date of the status conference; DENIED that Doe

       would have been rendered “homeless and without support.” ADMITTED

       that the Human Services Board acknowledged receipt of correspondence




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        and did not indicate when a decision would be made. The remainder of

        the averments in this paragraph are DENIED.

93.     ADMITTED as to the contents of the letter; the remainder of the

        averments in this paragraph are DENIED.

94.     ADMITTED that the guardians’ attorney sent the email. While not

        specifically denying the content of plaintiffs’ counsel’s email, the import

        and tenor as recounted in this paragraph are DENIED. ADMITTED that

        no specific response to the October 12, 2022 email was sent.

95.     ADMITTED as to the content of the communication.

96.     Defendants are unable to admit or deny who LCMHS intended to

        reference and thus DENY this averment.

97.     Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

98.     Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

99.     DENIED.

100.    Admitted that DAIL filed the motion in Washington Probate Division;

        the imputed averment that DAIL has not attempted to work

        collaboratively with Plaintiffs is DENIED.




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101.    ADMITTED that the motion was filed. The characterizations of DAIL’s

        motion before the Washington Probate Division are incomplete and thus

        misleading and therefore are DENIED.

102.    DENIED.

103.    The terms “criticize” and “antagonize” are unfairly inaccurate and thus

        DENIED. DAIL’s filing in the Washington Probate Division is

        ADMITTED. The “asserted reasons” are incomplete and thus are

        DENIED. The phrase “these efforts” in the context of the unfair,

        incomplete and inaccurate averments in this paragraph are DENIED.

104.    DENIED that the “temporal relationship” of the averments in this

        paragraph are “revealing.”

105.    DENIED.

106.    DENIED.

107.    ADMITTED, although the phrase “took over Doe’s Medicaid Waiver

        budget” is unclear and therefore DENIED.

108.    ADMITTED.

109.    Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

110.    ADMITTED that the probate court issued the order. Defendants lack

        knowledge or information sufficient to form a belief about the truth of

        the remaining averments and therefore DENY said averments.



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111.    Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

112.    Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

113.    DENIED.

114.    ADMITTED that LCMHS has contacted potential speech-language

        pathologists but has not been able to engage one yet.

115.    ADMITTED that LCMHS staff working directly with Doe have been

        trained in de-escalation. And have also reviewed the behavior support

        plan for Doe. Defendants are without sufficient information to admit or

        deny whether “all” LCMHS staff working with Doe have been trained

        around his communication support plan or otherwise trained on how to

        effectively communicate with Doe, although it is known that Danielle

        Kent is schedule to perform a training on the Communication Support

        Plan on April 11, 2023.

116.    ADMITTED that the iPad went missing. Defendants are without

        sufficient information to admit or deny when LCMHS ordered another

        one and therefore DENY this averment. Admitted that Doe attended a

        medical appointment on January 9, 2023 and the appointment was




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        terminated after Doe became violent. DENIED that this was likely

        because he was without effective means to communicate.

117.    ADMITTED, although Doe had a blood draw the week of March 27 and

        is current with all vaccinations.

118.    ADMITTED that Doe’s guardians expressed concerns about Doe’s

        gaining weight. Defendants are without sufficient information to admit

        or deny whether the guardians scheduled a telehealth consult on

        January 23. ADMITTED that LCMHS expressed concerns with having

        less than 24 hours to prepare Doe for the appointment but nevertheless

        attempted to accommodate it. Defendants are without sufficient

        information to admit or deny the content of the communications between

        LCMHS personnel and the plaintiffs thereafter and therefore DENY the

        averments related thereto. ADMITTED that DAIL has not “intervened”

        in this matter; ADMITTED that there are regulations regarding

        grievances and appeals.

119.    Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

120.    DENIED.

                COUNT I: PROCEDURAL DUE PROCESS


121.    Defendants incorporate the responses made in all previous paragraphs.

122.    DENIED.


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123.    DENIED.

124.    DENIED.

125.    DENIED.

                   COUNT II: MEDICAID DUE PROCESS

126.     Defendants incorporate the responses made in all previous paragraphs.

127.     DENIED.

128.     DENIED.

129.     DENIED.

130.     DENIED.

                    COUNT III: REHABILITATION ACT

131.     Defendants incorporate the responses made in all previous paragraphs.

132.     DENIED.

133.     DENIED.

134.     DENIED.

135.     DENIED.

136.     DENIED.



           COUNT IV: AMERICANS WITH DISABILIITIES ACT

137.     Defendants incorporate the responses made in all previous paragraphs.

138.     DENIED.

139.     DENIED.

140.     DENIED.


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141.     DENIED.

142.     DENIED.

143.     DENIED.

144.     Admitted that the individually-named state defendants were operating

         in their official capacities; the reference to “plaintiff’s allegations” is

         unclear and therefore DENIED.

145.     DENIED.


COUNT V: VERMONT FAIR HOUSING AND PUBLIC ACCOMODATIONS
                          ACT

146.     Defendants incorporate the responses made in all previous paragraphs.

147.     DENIED.

148.     DENIED.

149.     DENIED.

150.     DENIED.

151.     DENIED.

152.     DENIED.

                          COUNT VI: NEGLIGENCE


153.    Defendants incorporate the responses made in all previous paragraphs.

154.    This paragraph contains only citations to the law and requires no

        response. To the extent a response if required, defendants DENY this

        averment.

155.    DENIED.

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156.    DENIED.

157.    DENIED.



                          COUNT VII: RETALIATION


158.    Defendants incorporate the responses made in all previous paragraphs.

159.    DENIED.

160.    DENIED.

161.    ADMITTED that DAIL (with the approval of Monica White) filed

        pleadings in the Probate Division of the Vermont Superior Court seeking

        to remove Linda and Kelcey Luxenberg as Plaintiff Doe’s guardians.

        The remaining averments in this paragraph are DENIED.

162.    Defendants lack knowledge or information sufficient to form a belief

        about the truth of the remaining averments and therefore DENY said

        averments.

163.    DENIED.



        COUNT VIII: VIOLATION OF RIGHT TO FREE SPEECH

164.    Defendants incorporate the responses made in all previous paragraphs.

165.    DENIED.

166.    DENIED.

167.    DENIED.

168.    DENIED.


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   WHEREFORE, defendants pray for judgment in their favor, together with

damages, costs, attorney’s fees (if allowed) and all other relief deemed just and

equitable.



                              AFFIRMATIVE DEFENSES

                                    GENERALLY

   I.     The District Court lacks jurisdiction over the Vermont Department of

          Disabilities and Independent Living under the Eleventh Amendment to

          the Constitution.



   II.    The District Court lacks jurisdiction over defendant Monica White and

          Defendant Jennifer Garabedian in their official capacities under the

          Eleventh Amendment to the Constitution.



   III.   Defendant Department of Disabilities and Independent Living is immune

          from suit under the doctrine of sovereign immunity.


   IV.    Defendant Monica White is immune from suit under the doctrine of

          sovereign immunity and qualified immunity.


   V.     Defendant Jennifer Garabedian is immune from suit under the doctrine of

          sovereign immunity and qualified immunity.




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VI.   The Plaintiffs lack standing because they have suffered no injury in fact;

      the District Court has no jurisdiction.


      a. Mr. Doe has not and will not lose his housing or benefits;

      b. Linda Luxenberg has suffered no harm in fact.



               COUNT I: PROCEDURAL DUE PROCESS


I.    Failure to State a Claim:

      a. Insufficiency of Pleading:

             i. Parties: Plaintiffs have failed to plead that each individual

                defendant, through that official's individual actions, has violated

                the Constitution. Ashcroft v. Iqbal, 556 U.S. 662, 676, 129 S. Ct.

                1937, 1948, 173 L. Ed. 2d 868 (2009).

                   1. No specific actions are alleged (only bare legal

                         conclusions);

                   2. No specific defendant is tied to even the bare legal

                         conclusions asserted.

            ii. Lack of State Level Procedure: No lack of adequate procedural

                due process is averred with specificity.

                   1. Plaintiffs have already availed themselves of the existing,

                         adequate state-level process by filing an appeal with the

                         Vermont Human Services Board.



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                   2. Plaintiffs have not availed themselves of the existing,

                        adequate process to seek an expedited decision on their

                        appeal.


                COUNT II: MEDICAID DUE PROCESS

I.   Failure to State a Claim:

     a. Parties:

           i. Plaintiffs have failed to plead that each individual defendant,

              through that official's individual actions, has violated Medicaid

              due process protections. Ashcroft v. Iqbal, 556 U.S. 662, 676,

              129 S. Ct. 1937, 1948, 173 L. Ed. 2d 868 (2009).

                   1. No specific actions are alleged (only bare legal

                        conclusions);

                   2. No specific defendant is tied to even the bare legal

                        conclusions asserted.

     b. Lack of State Level Procedure: Plaintiffs’ complaint does not allege a

        lack of adequate procedural due process with the required specificity.

           i. Plaintiffs have already availed themselves of the existing,

              adequate state-level process by filing an appeal with the

              Vermont Human Services Board.

           ii. Plaintiffs have not availed themselves of the existing, adequate

              process to seek an expedited decision on their appeal.




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                 COUNT III: REHABILITATION ACT

I.   Insufficiency of Pleading:

            i. Parties: Plaintiffs have failed to plead that each individual

               defendant, through that official's individual actions, has violated

               the Rehabilitation Act. Ashcroft v. Iqbal, 556 U.S. 662, 676, 129

               S. Ct. 1937, 1948, 173 L. Ed. 2d 868 (2009).

                  1. No specific actions are alleged (only bare legal

                        conclusions);

                  2. No specific defendant is tied to even the bare legal

                        conclusions asserted.

           ii. Essential Element: Plaintiffs have failed to allege that any

               “discrimination” against Mr. Doe was the “sole reason” for

               defendants’ alleged decision.

          iii. Nature of a Rehabilitation Act Claim: Plaintiffs’ complaint, at its

               root, asserts that defendants are not meeting a standard of care

               that the Rehabilitation Act creates; this statute does not create

               such a standard.


         COUNT IV: AMERICANS WITH DISABILIITIES ACT

I.   Insufficiency of Pleading:

          iv. Parties: Plaintiffs have failed to plead that each individual

               defendant, through that official's individual actions, has violated

               the Americans with Disabilities Act (ADA). Ashcroft v. Iqbal,


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              556 U.S. 662, 676, 129 S. Ct. 1937, 1948, 173 L. Ed. 2d 868

              (2009).

                  1. No specific actions are alleged (only bare legal

                        conclusions);

                  2. No specific defendant is tied to even the bare legal

                        conclusions asserted.

           ii. Failure to State an ADA Claim: Plaintiffs allege neither that

              Mr. Doe is being deprived a service because of his disability, or

              that he is being refused a service that non-disabled people

              receive. As such, it does not state a claim under the ADA. Flight

              v. Gloeckler, 68 F.3d 61, 64 (2d Cir.1995)(dismissal of ADA claim

              required where plaintiff did not allege disparate treatment as

              compared to the benefits given to non-handicapped individuals).


             COUNT V: VERMONT FAIR HOUSING AND
                PUBLIC ACCOMODATIONS ACT


I.   Parties: Plaintiffs have failed to plead that each individual defendant,

     through the official's own individual actions, has violated the Vermont

     Fair Housing and Public Accommodations Act. Ashcroft v. Iqbal, 556 U.S.

     662, 676, 129 S. Ct. 1937, 1948, 173 L. Ed. 2d 868 (2009).

                  1. No specific actions are alleged (only bare legal

                        conclusions);




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                  2. No specific defendant is tied to even the bare legal

                        conclusions asserted.

           ii. Failure to State an Fair Housing and Public

               Accommodations Act Claim: The Fair Housing and Public

               Accommodations Act is co-extensive with the Americans with

               Disabilities Act. 9 V.S.A. § 4500. Plaintiffs do not allege that

               Mr. Doe either is being deprived a service because of his

               disability, or one that non-disabled people receive. As such, it

               does not state a claim under the statute. Flight v. Gloeckler, 68

               F.3d 61, 64 (2d Cir.1995)(dismissal of ADA claim required where

               plaintiff did not allege disparate treatment as compared to the

               benefits given to non-handicapped individuals).


                         COUNT VI: NEGLIGENCE


I.   Parties: Plaintiffs have failed to plead that each individual defendant,

     through the official's own individual actions, has breached a standard of

     care owed plaintiff Doe. Ashcroft v. Iqbal, 556 U.S. 662, 676, 129 S. Ct.

     1937, 1948, 173 L. Ed. 2d 868 (2009).


                         COUNT VII: RETALIATION


I.   Parties: Plaintiffs have failed to plead that each individual defendant,

     through the official's own individual actions, has retaliated against



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          plaintiff Doe. Ashcroft v. Iqbal, 556 U.S. 662, 676, 129 S. Ct. 1937, 1948,

          173 L. Ed. 2d 868 (2009).


             COUNT VIII: VIOLATION OF RIGHT TO FREE SPEECH

   I.     Plaintiffs’ complaint fails to state a cause of action; no allegation that state

          conduct would have chilled reasonable person was alleged.


                DEFENDANTS’ DEMAND FOR A JURY TRIAL


        Defendants DAIL, Commissioner Monica White, and Director Jennifer

Garabedian hereby demand a jury trial for all causes of action so triable.


Dated at Waterbury, Vermont this 5th day of April, 2023.


                                           STATE OF VERMONT

                                           CHARITY R. CLARK
                                           ATTORNEY GENERAL



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